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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ECI SOFTWARE SOLUTIONS, INC.,
          Plaintiff,

v.

JOHN PLYLER PLUMBING AND
HARDWARE, INC.; OLSHAN LUMBER                                   Civil Action No.: 3:18-cv-02758-S
COMPANY; and PROSPERITY
COMPUTER SOLUTIONS, LLC, WADE
FRAZIER, GREG MATATALL, and ED
BALDRIDGE,

                 Defendants.
                                               ORDER
          Before the Court is Defendants Prosperity Computer Solutions, LLC’s (“Prosperity”), Wade

Frazier’s (“Frazier”), Greg Matatall’s (“Matatall”) and Ed Baldridge’s (“Baldridge”) (collectively,

“Defendants”) Motion for Order Requiring Pre-Discovery Identification of Trade Secrets

(“Motion”) [ECF No. 110]. Having considered Defendants’ Motion, Defendants’ accompanying

Brief in Support [ECF No. 111], Plaintiff ECI Software Solutions, Inc.’s (“Plaintiff” or “ECI”)

response, if any, and the arguments of counsel, the Court finds that the Motion is well-taken and

should, in all things, be GRANTED. It is therefore

          ORDERED that ECI must identify each alleged trade secret that each Defendant allegedly

misappropriated. It is further

          ORDERED that ECI must separately break out each of the individual alleged trade secrets

that ECI claims Defendants have misappropriated. It is further

          ORDERED that ECI must identify all such trade secrets with sufficient particularity so that

the reader understands how each such trade secret differs from public domain information. It is

further



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       ORDERED that, to the extent that one Defendant is accused of misappropriating information

differently than from the others, ECI must include a list of which trade secrets each named

Defendant allegedly misappropriated within ten days of entry of this Order before any Defendant is

required to produce documents responsive to any discovery based on ECI’s claims for trade secret

misappropriation or before any Defendant is required to provide its deposition testimony in this case.

       SO ORDERED.

       Signed this the ___ day of ________, 2019.



                                               _____________________________
                                               Hon. Karen Gren Scholer
                                               United States District Judge




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